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                     UNITED STATES COURT OF APPEALS                         FILED
                            FOR THE NINTH CIRCUIT                            JUL 16 2025
                                                                         MOLLY C. DWYER, CLERK
                                                                          U.S. COURT OF APPEALS
PEDRO VASQUEZ PERDOMO; et al.,                    No. 25-4312
                                                  D.C. No.
             Plaintiffs - Appellees,              2:25-cv-05605-MEMF-SP
                                                  Central District of California,
 v.                                               Los Angeles
KRISTI NOEM, Secretary, Department of             ORDER
Homeland Security; et al.,

             Defendants - Appellants.

      Defendants filed two motions with this court requesting a stay pending

appeal of the district court’s temporary restraining order. Under Federal Rule of

Appellate Procedure 8(a)(1)(C), a “party must ordinarily move first in the district

court” for a stay pending appeal before filing with this court. When moving for a

stay before this court, the motion must either (i) show that moving first in the

district court would be impracticable, or (ii) state that, a motion having been made,

the district court denied the motion or failed to afford the relief requested and state

any reasons given by the district court for its action. Fed. R. App. P. 8(a)(2)(A).

      Defendants’ motions to this court indicate that the defendants requested a 7-

day stay of any order issuing an injunction, and that the district court denied that

request, but the referred-to request sought a stay only “to allow the Solicitor

General to determine whether to appeal and seek a stay pending appeal.”
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Defendants did not file a motion for a stay pending appeal with the district court

until after Defendants filed motions for a stay with this court. Further, in the stay

motions pending before this court, Defendants did not show that moving first in the

district court would have been impracticable. Consequently, the pending motions

do not comply with Fed. R. App. P. 8(a)(2)(A)(i).

      As noted, Defendants have now moved in the district court for a stay

pending appeal, but the district court has not yet ruled. Neither the motions nor any

supplement thereto contain the statements regarding the district court’s actions

required by Fed. R. App. P. 8(a)(2)(A)(ii).

      For these reasons, we deny the motions for stay pending appeal (Dockets 5

and 6) for failure to comply with Rule 8, without prejudice should defendants file

renewed compliant motions.

                                               FOR THE COURT:

                                               MOLLY C. DWYER
                                               CLERK OF COURT




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